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                       IN THE UNITED STATES DISTRICT COURT
                           DISTRICT OF SOUTH CAROLINA
                               CHARLESTON DIVISION


UNITED STATES OF AMERICA,                     )
                Plaintiff,                    )
                                              )
                       v.                     )       Case No. 2:10-CR-1198
                                              )
CHRISTOPHER T. HARRIS,                        )
                Defendant.                    )


MEMORANDUM IN SUPPORT OF DEFENSE MOTION FOR PERMISSION TO FILE
      SENTENCING MEMORANDUM AND EXHIBITS UNDER SEAL

       Defendant Christopher Harris, by and through his undersigned counsel has filed a motion

respectfully requesting that the Court grant him permission to file his sentencing memorandum

in this matter under seal, due to the sensitive nature of the information contained within.

       The sentencing memorandum in this case sets forth all bases for requesting a sentence in

conformity with 18 USC 3553(a), and as such it describes Mr. Harris’ personal history and

character in great detail.   There are references to Mr. Harris’ presentence report, including

subheadings and exhibits that address any history of mental/physical illness, alcohol/drug abuse

and treatment, and other personal and confidential information.            Additionally, there are

references to and pictures of Mr. Harris’ family members (some of whom may be minors) who

are not parties to this case. Another exhibit includes letters of support from persons not parties to

this case who describe themselves and their relationship to and with Mr. Harris.                 This

information is the same type of information which is ordinarily a confidential and sealed

component of the presentence report, and pertains to personal information that the public does

not have a right to know.
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       Therefore the purpose of this request is to protect the privacy interests of the defendant

and his family. Mr. Harris respectfully submits that the privacy interests of the defendant in

regards to the matters within the exhibits override the public's limited interest in access to

information about his life. The Court has the inherent authority to seal these documents. See

Baltimore Sun v. Goetz, 886 F. 2d 60 (4th Cir. 1989). The right to inspect judicial records is not

absolute, and it is appropriate to deny public access when the information might harm a litigant.

Nixon v. Warner Communications, Inc., 435 U.S. 589, 598 (1978).

       Counsel for the Defendant certifies by virtue of this motion and memorandum,

compliance with Local Rule 49.01. The pertinent Sentencing Memorandum and exhibits are

submitted in a separately sealed attachment for the court’s in camera review.

       The Defendant therefore requests that the Court direct that his Sentencing Memorandum

and all exhibits thereto be filed under seal.



                                                       Respectfully submitted,

                                                       s/ Jill EM HaLevi
                                                       Jill E.M. HaLevi
                                                       S.C. Fed. Bar # 8039

                                                Counsel for Mr. Harris

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Charleston, South Carolina
June 27, 2016




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                                     Certificate of Service

        Pursuant to Local Criminal Rule 49.03 DSC, I hereby certify that on this date I
electronically filed this motion with the Clerk of Court using the ECF system that will notify the
parties of record of this filing.

                                                    s/ Jill EM HaLevi
                                                    Jill E.M. HaLevi
                                                    S.C. Fed. Bar # 8039


June 27, 2016
Charleston, SC




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